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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

PELOTON INTERACTIVE, INC.,                        )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )   C.A. No. 19-1903 (RGA)
                                                  )
ECHELON FITNESS MULTIMEDIA, LLC,                  )
ECHELON FITNESS, LLC, ECHELON                     )
STUDIO, LLC and VIATEK CONSUMER                   )
PRODUCTS GROUP, INC.,                             )
                                                  )
                Defendants.                       )

                                     [PROPOSED] ORDER

        WHEREAS, the Court having considered the parties’ submissions and arguments in

 support and opposition thereto regarding the parties’ discovery dispute;

        IT IS HEREBY ORDERED this ____ day of ________________, 2022, that Plaintiff

 Peloton Interactive, Inc.’s motion to compel is GRANTED as follows:

     1. Defendants shall produce all documents produced by them in the U.K. litigation,

 responsive to Plaintiff’s Request for Production No. 306;

     2. Defendants shall produce documents related to their advertisements offering Echelon

 products separately from a subscription to Echelon content, responsive to Plaintiff’s Requests for

 Production Nos. 224, 275, 276, and 277;

     3. Defendants shall produce documents related to the design process for the GT+ Connect

 Bike and the Echelon logo, responsive to Plaintiff’s Requests for Production Nos. 307-316;

     4. Defendants shall complete the production of the foregoing documents no later than

 February 7, 2022.

                                              _______________________________
                                              United States District Judge
